Case 2:19-cv-06070-PKC-RML Document 386-1 Filed 12/13/23 Page 1 of 29 PageID #: 7299




                       EXHIBIT A
Case 2:19-cv-06070-PKC-RML Document 386-1 Filed 12/13/23 Page 2 of 29 PageID #: 7300



                                                                     Page 1

    1
    2       UNITED STATES DISTRICT COURT
    3       EASTERN DISTRICT OF NEW YORK
            -----------------------------------------X
    4       HICKSVILLE WATER DISTRICT,
    5                                Plaintiff,
    6
                       -against-                     Civil Action No.:
    7                                                2:19-cv-06070-PKC-RML
    8
            JERRY SPIEGEL ASSOCIATES, INC., et al.,
    9
                                     Defendants.
  10        ----------------------------------------X
  11                                   111 Great Neck Rd Suite 600
                                       Great Neck, NY 11021
  12                                   November 29, 2023
                                       10:26 a.m.
  13
  14
  15        VIDEOTAPED EXAMINATION BEFORE TRIAL of PAUL
  16        GRANGER, a Non-Party Witness herein, taken by
  17        the Plaintiff, held at the above-mentioned
  18        location, pursuant to Subpoena, taken before
  19        DANIELLE DEYOUNG, a Shorthand Reporter and Notary
  20        Public in and for the State of New York.
  21
  22
  23
  24
  25

                                   Veritext Legal Solutions
        212-267-6868                 www.veritext.com                   516-608-2400
Case 2:19-cv-06070-PKC-RML Document 386-1 Filed 12/13/23 Page 3 of 29 PageID #: 7301



                                                                    Page 39

    1                                      P. GRANGER
    2            product these manufacturers produced?
    3                  A         Well, the primary ones would
    4            be PFOA and PFOS.
    5                  Q         Are you referencing a
    6            litigation filed against manufacturers of
    7            firefighting foams containing PFOS, or
    8            perfluorinated compounds?
    9                  A         Yes.
  10                   Q         Is there any other -- so other
  11             than the action filed against the
  12             manufacturers of the firefighting foams,
  13             are there any other litigations that
  14             Hicksville Water District has filed
  15             relating to contamination by
  16             perfluorinated compounds?
  17                   A         Outside of -- so the -- the
  18             case I'm here, today, involves, you know,
  19             the perfluorinated compounds.                  So outside
  20             of that, and the manufactures, no.
  21                   Q         Okay.       With respect to the
  22             firefighting foams case, are you aware of
  23             any settlements or potential settlements
  24             that have been reached in that case?
  25                   A         Yeah.       There -- there is a

                                   Veritext Legal Solutions
        212-267-6868                 www.veritext.com                   516-608-2400
Case 2:19-cv-06070-PKC-RML Document 386-1 Filed 12/13/23 Page 4 of 29 PageID #: 7302



                                                                    Page 40

    1                                      P. GRANGER
    2            potential settlement.
    3                  Q         Are you aware if the Water
    4            District is going to receive settlement
    5            funds in connection with this potential
    6            settlement?
    7                  A         The board is still deciding --
    8            I forget the exact dates when that
    9            determination needs to be made; but the
  10             way I understand the settlement, or the
  11             proposed settlement that is on the table
  12             is that the District has to opt out if it
  13             does not want to proceed.                    So my board
  14             has not made that determination as of --
  15             at this time.
  16                   Q         I think you referenced a date
  17             by which the Board of the Hicksville
  18             Water District will make a determination,
  19             correct?
  20                   A         Correct.
  21                   Q         Do you know what that date is?
  22                   A         I -- there were many dates
  23             thrown out, but it's a date in December,
  24             and it is coming up close.                    If you don't
  25             mind, I -- I have to -- I have a water

                                   Veritext Legal Solutions
        212-267-6868                 www.veritext.com                   516-608-2400
Case 2:19-cv-06070-PKC-RML Document 386-1 Filed 12/13/23 Page 5 of 29 PageID #: 7303



                                                                      Page 41

    1                                      P. GRANGER
    2            main break.        If we could take a quick
    3            break.
    4                       MS. KAPOANO:             Yes, we can take a
    5                  quick break.          We can go off the
    6                  record.
    7                       THE VIDEOGRAPHER:                   We are now off
    8                  the record.         The time on the video
    9                  monitor is 10:57 a.m.
  10                                     (Whereupon, a recess took
  11                                     place.)
  12                        THE VIDEOGRAPHER:                   We are now
  13                   back on the record.                    The time on the
  14                   video monitor is 11:05 a.m.
  15                        MR. GITELMAN:              Ariel, before we
  16                   go, you marked 21 as five, right?
  17                        MS. KAPOANO:             I did not.        So I am
  18                   going to mark tab 21 as Exhibit 5.
  19                                     (Whereupon, Exhibit 5 was
  20                                     marked for
  21                                     identification.)
  22       BY MS. KAPOANO:
  23                   Q         Mr. Granger, hopefully the
  24             water main break is settled.
  25                   A         It is.        Thank you.

                                   Veritext Legal Solutions
        212-267-6868                 www.veritext.com                    516-608-2400
Case 2:19-cv-06070-PKC-RML Document 386-1 Filed 12/13/23 Page 6 of 29 PageID #: 7304



                                                                   Page 120

    1                                      P. GRANGER
    2                  Q         So to the extent that the
    3            Water District has admitted in their
    4            interrogatory responses that the only
    5            sites that these particular defendants
    6            named in this lawsuit have caused release
    7            of 1,4-dioxane, impacting Plants 4 and 5.
    8                            And I don't have all to have
    9            the documents to show you, so I'm just
  10             doing to represent that that's the Water
  11             District's submission.                  Can you confirm
  12             that the Water District is not seeking
  13             the cost to install AOP treatment at
  14             Plants l, 6, 8, 9, 11 and potentially 10?
  15                   A         Yeah.       Those costs -- if those
  16             wells are not being impacted by the
  17             defendants, we would not roll those costs
  18             into those --
  19                   Q         So --
  20                   A         -- damages.
  21                   Q         I'm sorry to cut you off.
  22                             So the Water District, in this
  23             litigation, is seeking to be compensated
  24             for the costs to install as well as
  25             operate and maintain, the AOP treatment

                                   Veritext Legal Solutions
        212-267-6868                 www.veritext.com                   516-608-2400
Case 2:19-cv-06070-PKC-RML Document 386-1 Filed 12/13/23 Page 7 of 29 PageID #: 7305



                                                                   Page 121

    1                                      P. GRANGER
    2            systems that have been implemented at
    3            Plants 4 and 5 only.                Is that accurate?
    4                  A         Yes.
    5                       MS. KAPOANO:             Okay.    Let's turn
    6                  to tab 13, and we are going to mark
    7                  that as Exhibit 10.
    8                                    (Whereupon, Exhibit 10
    9                                    was marked for
  10                                     identification.)
  11       MS. KAPOANO:
  12                   Q         Mr. Granger, do you recognize
  13             the document at tab 13?
  14                   A         Yes.
  15                   Q         And what is this?
  16                   A         This was a document that was
  17             prepared by the Hicksville Water District
  18             signed by the superintendent at that time
  19             that was sent to the EPA.
  20                   Q         What is the subject of this
  21             letter that was sent by the Water
  22             District to the EPA?
  23                   A         If you don't mind, I will go
  24             through the letter.
  25                   Q         Sure take your time.

                                   Veritext Legal Solutions
        212-267-6868                 www.veritext.com                   516-608-2400
Case 2:19-cv-06070-PKC-RML Document 386-1 Filed 12/13/23 Page 8 of 29 PageID #: 7306



                                                                   Page 248

    1                                       P. GRANGER
    2             funding source"; one is denoted with the
    3             line "settlement," and the other one is
    4             "2018 bond."        Do you see that?
    5                  A         Yes.
    6                  Q         Are these numbers listed
    7             here -- first of all, are these numbers
    8             reflecting the total -- sorry, strike
    9             that.
  10                             So first this settlement
  11              number that's listed here, what's that
  12              number?
  13                   A         That number is from a prior
  14              settlement.       I am just trying to recall
  15              the particular case.                And there was a
  16              case where the settlement could only be
  17              used for Plant 4, I believe.
  18                   Q         So just following the chart
  19              here, it appears as though the total
  20              costs that have been paid so far for the
  21              interim treatment plant at Plant 4, that
  22              3.1 million number, has been taken
  23              entirely from the settlement amount
  24              listed here of 3,544,576; is that
  25              accurate?

                                   Veritext Legal Solutions
        212-267-6868                 www.veritext.com                   516-608-2400
Case 2:19-cv-06070-PKC-RML Document 386-1 Filed 12/13/23 Page 9 of 29 PageID #: 7307



                                                                   Page 249

    1                                      P. GRANGER
    2                  A         Yes.
    3                  Q         Okay.       And there is still a
    4            remaining balance from the settlement
    5            that you referenced has been earmarked
    6            for Plant 4 of $441,4-dioxane16?
    7                  A         Yes.
    8                  Q         And the 2018 bond number
    9            listed here which is 5.479 million.                     And
  10             it appears, according to this chart, that
  11             that amount has not been tapped into yet;
  12             is that correct?
  13                   A         Correct.
  14                   Q         So for the remaining cost
  15             estimate for the permanent phase of the
  16             AOP treatment at Plant 4, what do you
  17             expect the funding source to be?
  18                   A         So it could be from the 2018
  19             bond.     It's all a function of cash flow.
  20             And since we did receive a grant for the
  21             plant, but it's a reimbursement grant,
  22             not -- they don't front you the money.
  23                             So once you receive the
  24             settlement money, then you the tap into
  25             the bond money.           Then that would mean we

                                   Veritext Legal Solutions
        212-267-6868                 www.veritext.com                   516-608-2400
Case 2:19-cv-06070-PKC-RML Document 386-1 Filed 12/13/23 Page 10 of 29 PageID #:
                                    7308


                                                                Page 251

  1                                      P. GRANGER
  2            believe you just clarified that
  3            represents total from the WIIA grant?                      Is
  4            that he Water Infrastructure Improvement
  5            Act?       Is that what that's an acronym for?
  6                   A        Yes.
  7                   Q        Okay.       So that number is both
  8            from the WIIA grant and the small SUNY
  9            grant that was received for the pilot
10             study, right?
11                    A        Yes.
12                    Q        Okay.       So it looks like from
13             this chart, the Water District has
14             received this 2186938 number from those
15             two grant funding sources; is that
16             correct?
17                    A        Yes.
18                    Q        But as you just testified, the
19             total funding so far for the Plant 4
20             treatment system has come solely from the
21             Plant 4 settlement; is that correct?
22                    A        Yes.      That was used to --
23             yeah, so you need to put the money out so
24             the grant reimburses you that, so yes, if
25             you follow the columns, that's correct.

                                 Veritext Legal Solutions
      212-267-6868                 www.veritext.com                  516-608-2400
Case 2:19-cv-06070-PKC-RML Document 386-1 Filed 12/13/23 Page 11 of 29 PageID #:
                                    7309


                                                                Page 264

  1                                      P. GRANGER
  2            obviously segregated because it's
  3            identified separately.                  It was, at that
  4            time, a separate account.
  5                  Q         And are there restrictions on
  6            the ways in which the Water District can
  7            spend those funds that have been placed
  8            in the settlement fund?
  9                  A         I'd have to go back to some of
10             the -- perhaps the resolutions.                   I think
11             the restriction would be based on the
12             agreement in the settlement.
13                   Q         So there would be particular
14             board meeting resolutions relating to the
15             conditions under which the Water District
16             could spend those monies received in
17             settlement?
18                   A         There may be.
19                   Q         Okay.       And as we went through
20             the cost report earlier, one way to look
21             at how the Water District has spent those
22             funds is to see how it's outlined in the
23             cost reports for each plant?
24                   A         Oh, yes.
25                   Q         Okay.       We're going to turn to

                                 Veritext Legal Solutions
      212-267-6868                 www.veritext.com                  516-608-2400
Case 2:19-cv-06070-PKC-RML Document 386-1 Filed 12/13/23 Page 12 of 29 PageID #:
                                    7310


                                                                Page 273

  1                                      P. GRANGER
  2                  Q         And it says "under funding
  3            source" 4,266,627; do you see that?
  4                  A         Yes.
  5                  Q         And then the following column
  6            says "amount paid as of 12/31/22," and
  7            that number is in parenthesis; do you see
  8            that?
  9                  A         Yes.
10                   Q         Does that indicate, to date,
11             the cost to install Plant 5 AOP treatment
12             system -- strike that.
13                             Does that indicate that, to
14             date, of the cost that has been spent to
15             install AOP treatment at Plant 5
16             $4.299 million of that cost came from a
17             settlement?
18                        MS. KAPOANO:             Sorry.   Could your
19                   read that back?
20                                     (Whereupon, the requested
21                                     testimony was read back
22                                     by the reporter.)
23       BY MS. KAPOANO:
24                   Q         Do you understand the
25             question?

                                 Veritext Legal Solutions
      212-267-6868                 www.veritext.com                  516-608-2400
Case 2:19-cv-06070-PKC-RML Document 386-1 Filed 12/13/23 Page 13 of 29 PageID #:
                                    7311


                                                                Page 274

  1                                      P. GRANGER
  2                  A         Yes.
  3                  Q         And your answer?
  4                  A         Is, yes.
  5                  Q         Okay.       And just real quick,
  6            the total cost that has been spent to
  7            date for Plant 5, is that number that's
  8            represented next to "total paid" section
  9            that begins with nine point -- the
10             $9,621,577?
11                   A         Yes.
12                   Q         Okay.       So total cost for Plant
13             5 would be -- total cost for Plant
14             5 treatment, as of the date of this
15             document, is be represented by the $9.6
16             million-dollar number, correct?
17                   A         Yes.
18                   Q         And the sources of funding for
19             that total number can be found in the
20             table below that number.
21                   A         Yes.
22                   Q         Okay.       Do you believe four
23             point -- the nearly 4.3 million number
24             listed here, do you believe that that
25             number -- strike that.

                                 Veritext Legal Solutions
      212-267-6868                 www.veritext.com                  516-608-2400
Case 2:19-cv-06070-PKC-RML Document 386-1 Filed 12/13/23 Page 14 of 29 PageID #:
                                    7312


                                                                Page 275

  1                                      P. GRANGER
  2                            Do you believe that the
  3            4,299,627 dollar-number listed here stems
  4            from the Plant 5 VOC litigation that we
  5            discussed earlier?
  6                  A         Stems from that -- so also,
  7            I'm just thinking aloud, because the
  8            district was -- it's my understanding,
  9            the Water District was part of that the
10             MTBE litigation, so I'm not sure if that
11             settlement money was also co-mingled in
12             that, or was it spent down.                  So it was a
13             lot of -- so if there was a settlement
14             with regard to four and five, so the
15             answer -- you know, that money probably
16             is in that amount.
17                   Q         Well, we are discussing two
18             settlements here.             We discussed the Plant
19             4 settlement?
20                   A         And there's a separate
21             settlement for five.
22                   Q         And is it your testimony that
23             there's a separate settlement for Plant
24             5, which I believe you referenced earlier
25             when we looked at the complaint filed for

                                 Veritext Legal Solutions
      212-267-6868                 www.veritext.com                  516-608-2400
Case 2:19-cv-06070-PKC-RML Document 386-1 Filed 12/13/23 Page 15 of 29 PageID #:
                                    7313


                                                                Page 276

  1                                      P. GRANGER
  2            Plant 5.
  3                  A         Yes.
  4                  Q         Okay.       Where can we find --
  5            strike that.
  6                            You just mentioned that it is
  7            possible that other settlement funds have
  8            been co-mingled and potentially
  9            recommended by the total amount listed
10             here, correct?
11                   A         It's possible, but then the
12             MTBE the settlement was so far away that
13             that money may have been expended.                    Once
14             again, I shouldn't speculate because I
15             wasn't there to follow the bouncing ball
16             of accounting, but I can certainly answer
17             your questions with regard to the
18             settlements that are more recent.
19                   Q         Where would we find the
20             information that we are requesting here,
21             which is specifically:                  To what extent
22             does the line item here denoted with the
23             word "settlement," to what extent does
24             that come from the Plant 5 VOC
25             settlement?        Where can we find that

                                 Veritext Legal Solutions
      212-267-6868                 www.veritext.com                  516-608-2400
Case 2:19-cv-06070-PKC-RML Document 386-1 Filed 12/13/23 Page 16 of 29 PageID #:
                                    7314


                                                                Page 277

  1                                      P. GRANGER
  2            information?
  3                  A         Surely, there would be some
  4            accounting for that, so I would have to
  5            review that with our treasurer.
  6                       MR. GITELMAN:              Can you go back a
  7                  few minutes to looking at Plant 5
  8                  costs, and you mentioned some line
  9                  that total cost, and I think you
10                   looked at the wrong line.                 Can you go
11                   back to that?
12                        MS. KAPOANO:             Okay.     The total
13                   paid amount for Plant 5 treatment as
14                   represented on this document, where
15                   can I find that?
16                        MR. GITELMAN:              Total paid amount.
17                   Okay.     You said "total cost."
18                   Total --
19                        THE WITNESS:             She said total
20                   paid.
21                        MR. GITELMAN:              Okay.    Thank you.
22       BY MS. KAPOANO:
23                   Q         Going back to what you just
24             referenced as far as looking at the
25             accounting documents, what accounting

                                 Veritext Legal Solutions
      212-267-6868                 www.veritext.com                  516-608-2400
Case 2:19-cv-06070-PKC-RML Document 386-1 Filed 12/13/23 Page 17 of 29 PageID #:
                                    7315


                                                                Page 278

  1                                      P. GRANGER
  2            documents are you referencing?
  3                  A         Whatever my treasurer has in
  4            order to break down those settlements, if
  5            he has such documents.
  6                  Q         So it's your understanding
  7            that there are documents that are
  8            maintained by the Water District, and
  9            specifically that are -- strike that.
10                             So it's your understanding
11             that there are accounting documents
12             maintained by the Water District that
13             would contain a further breakdown of
14             where and when the funding listed here
15             under the line item "settlement" comes
16             from?
17                   A         There may be.
18                   Q         Okay.       And earlier when we
19             were discussing the board meeting
20             minutes, you talked about how the
21             settlement funds that were listed on
22             those meeting minutes -- and we can turn
23             back to that if you need to, but they
24             were -- actually, let's turn back to
25             that.

                                 Veritext Legal Solutions
      212-267-6868                 www.veritext.com                  516-608-2400
Case 2:19-cv-06070-PKC-RML Document 386-1 Filed 12/13/23 Page 18 of 29 PageID #:
                                    7316


                                                                Page 280

  1                                      P. GRANGER
  2                  that is because, you should have
  3                  something on top.
  4      BY MS. KAPOANO:
  5                  Q         So generally speaking, when
  6            the Water District receives funding in a
  7            settlement, does it place that funding in
  8            an interest-bearing account at a bank?
  9                  A         Yes.
10                   Q         Does it receive bank
11             statements as far as money earned through
12             interest on those accounts?
13                   A         Yes.
14                   Q         And the Water District
15             maintains copies of those bank
16             statements?
17                   A         Yes.
18                   Q         Where would those documents be
19             located?
20                   A         At the District.
21                   Q         Electronically or in hard
22             copy?
23                   A         Depending how far back,
24             combination of both.
25                   Q         And would the Water District

                                 Veritext Legal Solutions
      212-267-6868                 www.veritext.com                  516-608-2400
Case 2:19-cv-06070-PKC-RML Document 386-1 Filed 12/13/23 Page 19 of 29 PageID #:
                                    7317


                                                                Page 281

  1                                      P. GRANGER
  2            be able to retrieve all such bank
  3            statements relating to funds that were
  4            received in settlement?
  5                  A         I believe so.
  6                  Q         I have just a few more
  7            questions on this topic, and then we can
  8            take a break.         I know it's been a little
  9            while.
10                             Are you aware of any other
11             settlements, other than what we've just
12             discussed today, that have been received
13             by the Water District for the
14             installation of AOP treatment at Plant 5?
15                   A         No.
16                   Q         Same question for Plant 4.
17                   A         No.
18                   Q         I'm going to name for you
19             settling defendants in this case.                    So
20             each of these parties has filed notice
21             with the Court that they've settled with
22             the Water District, and I'm going to ask
23             you how much money you received in the
24             settlement payment from each of these
25             defendants.        So do you understand what

                                 Veritext Legal Solutions
      212-267-6868                 www.veritext.com                  516-608-2400
Case 2:19-cv-06070-PKC-RML Document 386-1 Filed 12/13/23 Page 20 of 29 PageID #:
                                    7318


                                                                Page 282

  1                                      P. GRANGER
  2            I'm asking?
  3                  A         Yes.
  4                  Q         All right.            So the first --
  5                       MR. GITELMAN:              I will -- you can
  6                  ask him if you know, but not the
  7                  amount of the payment.                 I'll instruct
  8                  him not to answer at this time.
  9                       MS. KAPOANO:             On what basis are
10                   you instructing him not to answer?
11                        MR. GITELMAN:              There is a motion
12                   pending right now in courts, so once
13                   it's determined, we can revisit the
14                   issue.
15                        MR. HOOKER:            But you said we
16                   could ask questions in deposition, to
17                   the Court.
18                        MR. GITELMAN:              You can ask.      You
19                   can ask to the extent he knows.
20                        MR. HOOKER:            You said you're
21                   instructing him not to answer.
22                        MR. GITELMAN:              Well, it depends
23                   on the specific question.                 Go ahead.
24       BY MS. KAPOANO:
25                   Q         So the question is what I just

                                 Veritext Legal Solutions
      212-267-6868                 www.veritext.com                  516-608-2400
Case 2:19-cv-06070-PKC-RML Document 386-1 Filed 12/13/23 Page 21 of 29 PageID #:
                                    7319


                                                                Page 283

  1                                      P. GRANGER
  2            laid out which is:              How much money did
  3            you receive from each of these parties?
  4                       MR. GITELMAN:              If he knows.
  5                       MS. KAPOANO:             Okay.    And I'll
  6                  point out for the record that it
  7                  would be very beneficial to have
  8                  access to these documents so that the
  9                  witness doesn't have to rely on his
10                   memory.
11                   Q         But we'll go with your memory
12             for now.      The first party is B&G
13             Lighting, doing business as Spectrum.                      Do
14             you know how much money was received from
15             that party?
16                   A         I don't recall.
17                   Q         What about IMC Eastern
18             Corporation?
19                   A         I don't recall.
20                   Q         ITC Corporation?
21                   A         I don't recall.
22                   Q         Fuji Film North America
23             Corporation?
24                   A         I don't recall.
25                   Q         750 Summa Avenue, LLC?

                                 Veritext Legal Solutions
      212-267-6868                 www.veritext.com                  516-608-2400
Case 2:19-cv-06070-PKC-RML Document 386-1 Filed 12/13/23 Page 22 of 29 PageID #:
                                    7320


                                                                 Page 284

  1                                      P. GRANGER
  2                  A         I don't recall.
  3                  Q         Equity Share 1 Associates?
  4                  A         I don't recall.
  5                  Q         KB Company?
  6                  A         I don't recall.
  7                  Q         AF Chem Corporation?
  8                  A         I don't recall.
  9                  Q         Do you have any recollection
10             of any of the total -- strike that.
11                             Do you have any recollection
12             of how much money the District has
13             received so far in this litigation?
14                   A         I do not.
15                   Q         Do you know if --
16                        MR. GITELMAN:              Can we go off the
17                   record for a second?
18                        MS. KAPOANO:             Can we -- okay.        Go
19                   off the record.
20                        THE VIDEOGRAPHER:                 We are now off
21                   the record.         The time on the video
22                   monitor is 4:22 p.m.
23                                     (Whereupon, a recess took
24                                     place.)
25                        THE VIDEOGRAPHER:                 We are now

                                 Veritext Legal Solutions
      212-267-6868                 www.veritext.com                  516-608-2400
Case 2:19-cv-06070-PKC-RML Document 386-1 Filed 12/13/23 Page 23 of 29 PageID #:
                                    7321


                                                                 Page 285

  1                                      P. GRANGER
  2                  back on the record the time on the
  3                  video monitor is 4:23 p.m.
  4      BY MS. KAPOANO:
  5                  Q         Mr. Granger, I am going to ask
  6            you if you could approximate how much
  7            money has been received from the eight
  8            settling defendants in this matter.
  9                  A         From the eight settlement --
10             it wasn't a large amount.                    You were
11             asking me specifics, and I can't give you
12             specific numbers.             Magnitude-wise, it was
13             a small amount, in the $100 to $200,000
14             range perhaps.
15                   Q         The range that you've just
16             given, which is an approximation of 100
17             to 200,000, is that, to your
18             recollection, the range that has been
19             received from each of the eight
20             defendants I have identified?
21                   A         In aggregate.
22                   Q         Did you -- did the Water
23             District receive more than $200,000 from
24             any of the eight defendants that I
25             identified.

                                 Veritext Legal Solutions
      212-267-6868                 www.veritext.com                    516-608-2400
Case 2:19-cv-06070-PKC-RML Document 386-1 Filed 12/13/23 Page 24 of 29 PageID #:
                                    7322


                                                                  Page 286

  1                                      P. GRANGER
  2                  A         I don't recall.
  3                  Q         Have the funds received from
  4            the eight settling defendants in this
  5            matter -- have they been earmarked
  6            specifically for 1,4-dioxane treatment?
  7                  A         I don't think the board has
  8            made that determination.                     They would be
  9            the one that would approve the
10             allocations.
11                   Q         So has the board considered
12             approval of settlement agreements with
13             any of these eight defendants?
14                   A         Repeat that question again,
15             I'm sorry.
16                   Q         Has the board of commissioners
17             approved -- strike that.
18                             Earlier today you had stated
19             that the board meeting minute resolutions
20             of the board of commissioners would
21             include information on the approval of
22             the settlement agreement as well as any
23             restrictions on settlement funding,
24             correct?
25                   A         Yes.

                                 Veritext Legal Solutions
      212-267-6868                 www.veritext.com                   516-608-2400
Case 2:19-cv-06070-PKC-RML Document 386-1 Filed 12/13/23 Page 25 of 29 PageID #:
                                    7323


                                                                Page 287

  1                                       P. GRANGER
  2                    Q       So in connection with the
  3             eight settlements that the Hicksville
  4             Water District has entered into in this
  5             litigation, has the board approved the
  6             settlement agreements with these eight
  7             defendants?
  8                    A       Yeah, if they settled, they
  9             would have approved the -- yeah, sure.
10              Yes.
11                     Q       And would those board meeting
12              minutes contain the exact amount of the
13              settlement payment?
14                     A       I don't believe so.
15                     Q       And would those board minutes
16              contain information relating to whether
17              the funds are earmarked for specific
18              types of treatment?
19                     A       I don't recall if the board
20              has made their determination of how they
21              are going to use that money yet.
22                     Q       Have you looked at the
23              settlement agreements yourself?
24                     A       We had our general counsel
25              review it.

                                 Veritext Legal Solutions
      212-267-6868                 www.veritext.com                  516-608-2400
Case 2:19-cv-06070-PKC-RML Document 386-1 Filed 12/13/23 Page 26 of 29 PageID #:
                                    7324


                                                                Page 288

  1                                      P. GRANGER
  2                  Q         So you personally did review
  3            any of the eight settlement agreements
  4            that have been entered into in this
  5            litigation.
  6                  A         No.
  7                  Q         And you have no knowledge as
  8            to whether the settlement agreements
  9            included provisions restricting those
10             funds for 1,4-dioxane treatment only?
11                   A         No.     I don't have that
12             knowledge.
13                   Q         Have the funds received in
14             settlement from these eight settling
15             defendants -- have they been spent?
16                   A         No.     I don't believe so.
17                   Q         And where are they being held
18             right now?
19                   A         I would assume it was probably
20             put into the general fund at this
21             junction.
22                   Q         Are they segregated in a
23             separate interest-bearing account,
24             similar to the settlement funds we looked
25             at in the 2019 board minutes?

                                 Veritext Legal Solutions
      212-267-6868                 www.veritext.com                  516-608-2400
Case 2:19-cv-06070-PKC-RML Document 386-1 Filed 12/13/23 Page 27 of 29 PageID #:
                                    7325


                                                                Page 289

  1                                      P. GRANGER
  2                  A         I don't recall.              I would need
  3            to look into that.
  4                  Q         Do you know if the funds
  5            received from the eight settling
  6            defendants in this matter have been
  7            earmarked for particular plants?                   Or can
  8            they be spent at any plant in the Water
  9            District?
10                   A         I don't think we've had that
11             level of conversation yet.
12                   Q         Would the commissioners of the
13             Hicksville Water District have reviewed
14             the settlement agreements prior to
15             approving them?
16                   A         They would rely on general
17             counsel for their opinion to make that
18             authorization.          So that's more of a legal
19             determination on their end, whether they
20             accept it.
21                   Q         Do you know if the settlements
22             with the eight settling defendants in
23             this matter -- do you know if they cover
24             any future unknown contaminants?
25                   A         Would it cover it -- I -- once

                                 Veritext Legal Solutions
      212-267-6868                 www.veritext.com                  516-608-2400
Case 2:19-cv-06070-PKC-RML Document 386-1 Filed 12/13/23 Page 28 of 29 PageID #:
                                    7326


                                                                   Page 290

  1                                      P. GRANGER
  2            again, it's to the extent that we can use
  3            the money, if it's unrestricted, it could
  4            be covered -- used for anything.
  5                  Q         But you don't know whether or
  6            not it's restricted in any way, correct?
  7                       MR. GITELMAN:              Objection.
  8                  A         I do not know.
  9                       MS. KAPOANO:             Okay.        Let's take a
10                   break.
11                        THE VIDEOGRAPHER:                   We are now off
12                   the record.         The time on the video
13                   monitor is 4:28 p.m.
14                                     (Whereupon, a recess took
15                                     place.)
16                        THE VIDEOGRAPHER:                   We are now
17                   back on the record.                    The time on the
18                   video monitor is 4:39 p.m.
19                        MS. KAPOANO:             Mr. Granger, I'm
20                   going to ask you to turn to tab 39,
21                   and we're going to mark tab 39 as
22                   Exhibit 24.
23                                     (Whereupon, Exhibit 24
24                                     was marked for
25                                     identification.)

                                 Veritext Legal Solutions
      212-267-6868                 www.veritext.com                    516-608-2400
Case 2:19-cv-06070-PKC-RML Document 386-1 Filed 12/13/23 Page 29 of 29 PageID #:
                                    7327


                                                                Page 319

  1                                 P. GRANGER
  2                               C E R T I F I C A T E
  3
  4                  I, DANIELLE DeYOUNG, a Shorthand Reporter
  5             and Notary Public of the State of New York, do
  6             hereby certify:
  7             That the WITNESS whose examination is
  8             hereinbefore set forth, was duly sworn, and
  9             that such examination is a true record of the
10              testimony given by such WITNESS.
11              I further certify that I am not related to any
12              of the parties to this action by blood or
13              marriage; and that I am in no way interested in
14              the outcome of this matter.
15
16
17
18
19                            <%15116,Signature%>
20                            DANIELLE DeYOUNG
21
22
23
24
25

                                 Veritext Legal Solutions
      212-267-6868                 www.veritext.com                  516-608-2400
